Case: 1:17-md-02804-DAP Doc #: 1957-66 Filed: 07/23/19 1 of 2. PageID #: 128579




                              EXHIBIT 66
                       Case: 1:17-md-02804-DAP Doc #: 1957-66 Filed: 07/23/19 2 of 2. PageID #: 128580




                      Brooks Pharmacy Monthly Total 15mg & 30mg Oxy "Sales Qty Govt UOM" 2010-2011
                                               (from MNK-T1_0001519959 & MNK-T1_0001810303)
                                                                                                                                Covidien Termination
125,000                                                                                                                                Oct. 17, 2011
                                                       Masters Termination                                                     (MNK-Tl_0000289368)
                                                           Oct. 4, 2010
                                                  (MNK-Tl_0000291258)


100,000




 75,000




 50,000




 25,000




     0
          Jan   Feb    Mar   Apr   May   Jun     Jul     Aug    Sep     Oct       Nov   Dec     Jan   Feb   Mar   Apr   May   Jun   Jul   Aug   Sep    Oct
          2010 2010 2010 2010 2010 2010 2010 2010 2010 2010 2010 2010 2011 2011 2011 2011 2011 2011 2011 2011 2011 2011

                                                                      • Masters    • Cardinal
